Case 2:18-cv-05038-JMA-AKT Document 21 Filed 11/12/19 Page 1 of 2 PagelD #: 74

Makes: Lopez

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289 Coventry Road North Us ol chen og
West Hempstead, New York 11552 * DISTRICT COURT E.D.N.y,
* NOV 12 2039
Honorable Judge Joan M. Azrack LO
United States District Court NG ISLAND OFFICE

Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

Re: Makesi Lopez v. Nassau County
Docket No.: 18-cv-05038

Dear Judge Azrack:
This letter is being sent to comply with the Court’s order of September 30, 2019.
I am currently in the process of trying to find legal counsel and I do intend to proceed with my

case. My permanent address is 289 Coventry Rd North, West Hempstead, New York 11552.

I thank the Court for its assistance in this matter.

Very truly yours;
MU. Lereen
Makesi Lopez
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Nov 12 2M9
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